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                                                                               ABBE DAVID LOWELL
                                        February 13, 2024


VIA ECF

The Honorable John G. Koeltl
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Banco San Juan Internacional, Inc. v. the Federal Reserve Bank of New York and the
       Board of Governors of the Federal Reserve System, Case No. 1:23-cv-6414 (JGK)

Dear Judge Koeltl,

        We write on behalf of Plaintiff Banco San Juan Internacional, Inc. (“BSJI”) regarding case
scheduling. As Your Honor is aware, the Federal Reserve Bank of New York’s and the Board of
Governors of the Federal Reserve System’s (collectively, the “Defendants”) time to respond or
otherwise move against BSJI’s original complaint was extended, on their request, to 45 days from
the final resolution of BSJI’s appeal to the Second Circuit Court of Appeals. See Docket No. 114.
As the Second Circuit yesterday granted BSJI’s request to withdraw its appeal (Docket No. 115),
the Defendants now have 45 days within which to respond or otherwise move against BSJI’s
complaint.

        BSJI plans to amend its complaint as a matter of course pursuant to Federal Rule of Civil
Procedure 15(a)(1)(B). Rather than wait to amend until after Defendants’ motions or responses are
filed, at which time BSJI understands the Court would then have the discretion to declare the
motions moot or consider them as against new facts as pleaded in the amended complaint, see
Pettaway v. National Recovery Solutions, 955 F.3d 299 (2d Cir. 2020), BSJI proposed that the
parties discuss a new case schedule which would streamline briefing. The Defendants were not
amenable to such discussions and, accordingly, BSJI therefore writes to notify the Court that it
plans to amend its complaint and is prepared to do so by February 29, 2024.

        Should the Court wish to discuss scheduling or any other matter with the parties, we remain
at the Court’s disposal.

                                                     Respectfully submitted,

                                                     /s/ Abbe D. Lowell

                                                     Abbe D. Lowell
                                                     Kelly A. Librera

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cc:   All Counsel of Record via ECF
